Case: 4:24-cv-00274-HEA     Doc. #: 67   Filed: 01/13/25   Page: 1 of 2 PageID #: 175




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION

DEMARIO TAYLOR,                          )
                                         )
              Plaintiff,                 )
                                         )
         v.                              )           No. 4:24-CV-274 HEA
                                         )
NORTH COUNTY POLICE                      )
COOPERATIVE, et al.,                     )
                                         )
              Defendants.                )


                            ORDER OF DISMISSAL

      This matter is before the Court on review of the file. On October 8, 2024,

the Court issued an Order directing Plaintiff Demario Taylor to serve Defendant

Marcellis Blackwell and file proof of such service by November 7, 2024. (ECF No.

45). The Order specifically provided that “[f]ailure to comply with Rule 4(m) and

this Order will result in the dismissal without prejudice of the claims against

Defendant Marcellis Blackwell.” (Id.) Plaintiff moved for additional time to

obtain service of process on Defendant Marcellis Blackwell, and the Court granted

Plaintiff until January 5, 2025 to file proof of service. (ECF No. 66). The record

does not now reflect proof of proper service on Defendant Marcellis Blackwell.
Case: 4:24-cv-00274-HEA    Doc. #: 67   Filed: 01/13/25   Page: 2 of 2 PageID #: 176




      IT IS HEREBY ORDERED that Plaintiff Demario Taylor’s claims against

Defendant Marcellis Blackwell are DISMISSED without prejudice.

      Dated this 13th day of January, 2025.




                                         _________________________________
                                             HENRY EDWARD AUTREY
                                          UNITED STATES DISTRICT JUDGE




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